                     EXHIBIT C




Case 3:23-cv-00478   Document 176-3   Filed 06/14/24   Page 1 of 2 PageID #: 1481
Ronald G. Harris

From:                            Katherine Barrett Riley < KBRiley@BarrettLawGroup.com >
Sent:                            Friday, June 7, 2024 9:13 AM
To:                              Nanci-Taylor Maddux; Leet, Byron; Matt Pietsch; Alan S. Bean; Ronald G. Harris
Cc:                              Loofbourrow, Ryan; Gino Marchetti; Olivia R. Arboneaux; Philip N. Elbert; Bradshaw,
                                 Jimmy; Travis, Tom; Carpenter, Brigid; Jjacobson@rjfirm.com; Kklein@rjfirm.com;
                                 Mintz@mintzandgold.com; Mccormick@mintzandgold.com; Ariana C. Voegler; Michelle
                                 Byerly; Cathy Pudlo; brody@mintzandgold.com; otchy@mintzandgold.com;
                                 klein @mintzandgold.com; Sills Litigation
Subject:                         RE: Sills, et al. v. Southern Baptist Convention, et al.; 3:23-cv-00478



Dear Counsel:

Several of you have reached out and left messages for extensions of time on your discovery responses. We have
been surprised by this, given the positions taken in the recent meet and confer concern ing amendment to the
CMO. Now the CMO has been entered barely two weeks, and we are concerned your extensions will create new
issues with respect to our preparations for depositions. Defendants have a couple depositions to take, but
Plaintiffs have a dozen or more. The extensions are not easily accommodated given the deadlines you required.
Please send in writing your specific request and indicate the reason for needing an extension. I will take it back to
our team, who has concerns about the several requests.

Sincerely,
Katherine



1(atlierine <Barrett <Rj{ey
(P, 0. <Bo~ 92 7
Lexington, <M.S 39095
662-834-2488
lijrifey@6arrettfawgroup.com

From: Nanci-Taylor Maddux <NTMaddux@BarrettLawGroup.com>
Sent: Wednesday, May 8, 2024 3:36 PM
To: Katherine Barrett Riley <KBRiley@BarrettLawGroup.com>; Leet, Byron <bleet@wyattfirm.com>; Matt Pietsch
<matt@tpmblaw.com>; Alan S. Bean <ABean@starneslaw.com>; Ronald G. Harris <rharris@nealharwell.com>
Cc: Loofbourrow, Ryan <rloofbourrow@bakerdonelson.com>; Gino Marchetti <gmarchetti@tpmblaw.com>; Olivia R.
Arboneaux <oarboneaux@nealharwell.com>; Philip N. Elbert <pelbert@nealharwell.com>; Bradshaw, Jimmy
<jbradshaw@wyattfirm.com>; Travis, Tom <TTRAVIS@wyattfirm.com>; Carpenter, Brigid
<bcarpenter@bakerdonelson .com>; Jjacobson@rjfirm.com; Kklein@rjfirm.com; Mintz@mintzandgold.com;
Mccormick@mintzandgold.com; Ariana C.Voegler<avoegler@nealharwell.com>; Michelle Byerly
<mbyerly@nealharwe ll.com>; Cathy Pudlo <cpudlo@nealharwell.com>; brody@mintzandgold.com;
otchy@mintzandgold.com; klein@mintzandgold.com; Sills Litigation <sillslitigation@barrettlawgroup.com>
Subject: RE: Sills, et al. v. Southern Baptist Convention, et al.; 3:23-cv-00478

Missed attachment so adding it here



        Case 3:23-cv-00478        Document 176-3           1
                                                         Filed 06/14/24      Page 2 of 2 PageID #: 1482
